                                                                   THIS ORDER IS APPROVED.


                                                                   Dated: April 24, 2018



1                                                                  _________________________________
                                                                   Scott H. Gan, Bankruptcy Judge
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5
6                          UNITED STATES BANKRUPTCY COURT
7                                    DISTRICT OF ARIZONA
8
9
     In re:                                           Chapter 7
10
     JOHN MICHAEL DUTTON,                             Case No. 4:16-bk-03966-SHG
11
                                                      Chapter 7
12
     EVELYN MARIE DUTTON,                             Case No. 4:16-bk-03964-SHG
13
                                  Debtor.
14
15
16 RHEA & WILFRED FISHER,                             Adv. Case No. 4:16-ap-00367-SHG
17
                      Plaintiffs,
18                                                    Adv. Case No. 4:16-ap-00366-SHG
   v.
19
   JOHN MICHAEL DUTTON,                               MEMORANDUM DECISION AFTER
20                                                    TRIAL RE: (1) DETERMINATION
                                                      OF DISCHARGEABILITY UNDER
21                                                    §523(a)(2)(A); AND (2) IMPOSITION
     EVELYN MARIE DUTTON,                             OF CONSTRUCTIVE TRUST
22
                                  Defendants.
23
24            Rhea and Wilfred Fisher filed adversary complaints to determine the
25 dischargeability of their debt against John and Evelyn Dutton, the debtors in separate
26 individual Chapter 7 bankruptcy cases. The Court consolidated the Fishers’ adversary
27 complaints and conducted a two-day trial. After consideration of the evidence and
28 relevant law, the Court finds for the Fishers and awards them a nondischargeable

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1     judgment, pre-judgment and post judgment interest, and a constructive trust over the
2     Maricopa House.
3                                         I. JURISDICTION
4            Jurisdiction is proper under 28 U.S.C. §§ 1334 and 157(b)(2)(J).1
5                                  II. PROCEDURAL HISTORY
6            On April 13, 2016, John Michael (“John”) and Evelyn Marie (“Evelyn”) Dutton
7     (collectively, the “Duttons”) filed separate voluntary petitions for bankruptcy relief (the
8     “Petition Date”) under Chapter 7 of Title 11 of the United States Code, 11 U.S.C. §§
9     101–1532 (the “Bankruptcy Code”).2
10           On July 29, 2016, Rhea (“Rhea”) and Wilfred (“Wilfred”) Fisher (Collectively, the
11 “Fishers”) filed separate identical adversary complaints against the Duttons individually.3
12 On September 25, 2016, the Court consolidated the adversary proceedings against the
13 Duttons (DE 214). On December 20, 2017, the Court entered the order setting the
14 consolidated adversary proceeding for a two-day trial (the “Trial”) (DE 82). On February
15 13 and 14, 2018, the Court conducted the Trial (DE 101; 103). At the conclusion of the
16 Trial, the Court took the matter under advisement (DE 103).
17                                         III. FACTS
18           A. Events Precipitating the Sale of the Utah House
19           Rhea is eighty-three (83) years old (DE 104, Tr. 7:21). Wilfred was
20 approximately eighty-six (86) years old in January of 2017 when he passed away (Id., Tr.
21 9:4–5). The Fishers were married from 1968 until Wilfred’s death in January of 2017
22    1
        Unless otherwise indicated, all chapter and section references are to the Bankruptcy Code, 11
23    U.S.C. § 101-1532. “Rule” references are to the Federal Rules of Bankruptcy Procedure Rules
      1001-9037.
      2
24      Chapter 7 Voluntary Petition, In re John Michael Dutton, No. 16-03966-SHG (Bankr. D. Ariz.
      Apr. 13, 2016), (cited infra as In re JMD) DE 1; Chapter 7 Voluntary Petition, In re Evelyn
25    Marie Dutton, No. 16-03964-SHG (Bankr. D. Ariz. Apr. 13, 2016), (cited infra as In re EMD)
26    DE 1. Docket entries are cited as “DE” and Claims Register entries are cited as “CR.”
      3
        Complaint, Fisher v. Dutton, No. 16-ap-00367 (Bankr. D. Ariz. Jul. 29, 2016), DE 1;
27    Complaint, Fisher v. Dutton, No. 16-ap-00366 (Bankr. D. Ariz. Jul. 29, 2016), DE 1.
      4
        Citations to the docket in the consolidated adversary proceedings are found in Fisher v. Dutton,
28    No. 16-ap-00366.

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1     (Id., Tr. 7:22–8:2). Although the Fishers’ marriage produced no children, they each
2     entered the marriage with five (5) children (Id., Tr. 8:07–10).
3            From July 2006 to January of 2014, the Fishers lived together in the home they
4     owned in Bountiful, Utah (the “Utah House”) (Id., Tr. 8:16–18; 9:2–3). The Fishers
5     owned the Utah House free and clear and lived on Wilfred’s modest retirement pension
6     (Id., Tr. 8:07–10; In re JMD, DE 86, Ex. B(2) at 2).
7            Since at least 2010, Wilfred’s health and mental capacity showed signs of
8     deterioration (DE 104, Tr. 9:4–5; 9:20–10:6; 89:10–16). By 2014, Wilfred “had lost his
9     ability to take care of himself[,]” requiring Rhea to function has Wilfred’s primary
10 caretaker (Id., Tr. 11:7–18). As Wilfred’s health deteriorated, Rhea—herself at an
11 advanced age—found it increasingly difficult to care for Wilfred alone (Id., Tr. 11:20–
12 12:3). Wilfred’s care required Rhea to, among other things, physically lift and bathe him
13 (Id., Tr. 11:13–18). A task, which—more than once— resulted in accidents requiring
14 Rhea to seek the assistance of neighbors (Id., Tr. 11:20–23). After concluding that “she
15 couldn’t do [it] anymore[,]” Rhea determined that the only options available to her and
16 Wilfred were to “either go into a rest-home[,] assisted living, or go to one of my
17 daughters to live” (Id., Tr. 11:20–24).
18           Evelyn is one of Rhea’s five (5) daughters (Id., Tr. 8:07–10). Evelyn and John
19 married in 2006 and divorced in 2011 (Id., Tr. 116:1–8).5 Prior to the purchase of the
20 Maricopa House (defined below), Evelyn lived with John in a home they owned in
21 Phoenix, Arizona (the “Phoenix House”) (Id., Tr. 116:17–19). Because of Wilfred’s
22 declining health, the Fishers and Duttons decided to “pool [their] resources and buy a
23 home together” in Arizona (Id., Tr. 144:11–12; see 11:20–12:3; 124:7–13). The Duttons
24 agreed to provide the Fishers with “daily living assistance, such as meals, medication
25
26   The Duttons testified that despite their divorce, they remain “married” by virtue of their
      5

   marriage ceremony previously conducted in the Mormon church. The Court will only recognize
27 the validity and legal significance of marriages that comply with applicable state law. See Moran
   v. Moran, 188 Ariz. 139, 143, 933 P.2d 1207, 1211 (Ct. App. 1996); Gamez v. Indus. Comm'n,
28 114 Ariz. 179, 184, 559 P.2d 1094, 1099 (Ct. App. 1976).

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1     management, bathing, dressing, transportation, and a home to dwell in for the rest of their
2     lives” (Id., Tr. 137:18–138:2). In return, the Fishers agreed to provide the down payment
3     for the purchase of the new house in which they would all live together (Id., Tr. 64:8–10).
4            Shortly thereafter, Evelyn selected a house in Maricopa (the “Maricopa House”),
5     but John alone entered into a purchase agreement for the new home (Id., Tr. 12:10–11;
6     see Ex. 1; 116). On June 14, 2014, the Fishers sold the Utah House; the Phoenix House,
7     however, remained on the market (Id., Tr. 13:3–10). The Fishers netted approximately
8     $185,000 from the sale of the Utah House to fund their contribution to the down payment
9     on the Maricopa House (the “Down Payment”) (Trial Ex. 1). Upon the sale of the Utah
10 House, the Fishers briefly moved into the Phoenix House with the Duttons with the
11 intention of subsequently residing in the Maricopa House after the close of that purchase
12 (DE 104, Tr. 13:3–10).
13           Soon after the Fishers arrived at the Phoenix House, problems arose with the
14 Duttons. The parties presented conflicting evidence as to the amount of down payment
15 contribution initially agreed to by the Fishers. It is undisputed, however, that the Fishers’
16 down payment $120,000 was greater than the amount they initially agreed to contribute
17 before their sale of the Utah House (See Id., Tr. 14:13–18; 138:13–17; DE 105, Tr. 54:3–
18 12).7 It is also undisputed that the Down Payment was entirely comprised of proceeds
19 from the Fishers’ sale of the Utah House (In re JMD, DE 86, Ex. B(2) at 2; Trial Ex. 2;
20 11).
21           Rhea testified that soon after they moved into the Phoenix House her relationship
22 with Evelyn “fell apart” (DE 104, Tr. 21:12). Both parties provided testimony that there
23    6
        No purchase contract was admitted in evidence, however, documentation relating to the loan
24    and security agreement reflect that only John was the borrower in the transaction.
      7
        Rhea testified that the Fishers had agreed to $30,000 initially, but after the sale of the Utah
25    House, their required contribution rose to $120,000 (DE 104, Tr. 15:2–12). Evelyn testified that
26    when the Fishers’ contribution to the Down Payment rose from $100,000 to $120,000 it was
      because there was a delay in closing the Phoenix House which lead to cash shortfall (Id., Tr.
27    138:13-139:4). When the sale on the Phoenix House closed, the Duttons netted roughly $51,000,
      but never refunded any portion to the Fishers (Id., Tr. 141:21–142:16). The Duttons filed their
28    bankruptcy petition in 2016.

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1     was conflict over Evelyn’s various requests for additional money from Rhea for the costs
2     for living expenses (Id., Tr. 22:1–6; 94:17–95:6; 134:17–22; see DE 105, Tr. 60:2–9).
3     On June 30, 2014, escrow closed on the Maricopa House (See Trial Ex. 1). Within a
4     week, Rhea moved into the Maricopa House while Wilfred remained with the Duttons in
5     the Phoenix House until the sale of that house closed (DE 104, Tr. 23:25–24:4).
6           Shortly after Rhea moved into the Maricopa House, the Fishers decided to make
7     an investment with Jaret Krum (“Jaret”) (Id., Tr. 26:10–39:22; 107:18–108:5). Jaret is
8     the son of Pauline Krum (“Pauline”), another of Rhea’s daughters and Evelyn’s sister.
9     The Fishers wired Jaret approximately $60,000 as their investment (Id., Tr. 39:4–6). The
10 morning of the wire transfer, Evelyn took Wilfred to Chase Bank (“Chase”) where he and
11 Rhea held a joint checking account (the “Joint Account”) (Id., Tr. 126:2–11).8 A Chase
12 employee—after speaking with Wilfred and Evelyn—determined that Wilfred was
13 suffering from Rhea’s alleged “elder abuse” (Id., Tr. 27:2–4). The Chase employee
14 further determined that Wilfred was a “vulnerable adult” and could not control the funds
15 in the Joint Account by himself (Id., Tr. 127:10–19; see 38:2–10). Chase closed the Joint
16 Account and opened a new account replacing Rhea as a signer with Evelyn (Id., Tr.
17 127:10–19; 100:18–101:4).9 Chase transferred virtually all of the funds in the Joint
18 Account (the “Transferred Funds”) into the new bank account controlled only by Wilfred
19 and Evelyn (Id.).
20          Rhea learned that the Joint Account was closed while attempting to buy groceries
21 (Id. Tr. 26:17–21). Rhea contacted Chase immediately to determine why the Joint
22 Account was closed (Id., Tr. 26:22–23). A Chase employee explained that Chase closed
23 the Joint Account due to allegations that she abused Wilfred (Id., Tr. 26:22–27:6). Rhea
24 contacted Evelyn and a disagreement ensued over control of the Transferred Funds.10
25    8
     What exactly transpired at Chase is disputed, however, these are the undisputed facts.
26 The parties dispute whether the Joint Account was “frozen” or closed. Nevertheless, it is
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   undisputed that Chase transferred virtually all of the funds in the Joint Account to the new
27 account, inaccessible to Rhea.
   10
      The facts of surrounding this disagreement are disputed. It is undisputed, however, that
28 Evelyn never voluntarily relinquished control of the Transferred Funds.

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1     Rhea returned to the Maricopa House and contacted Pauline and two of her other
2     daughters (Id., Tr. 28:11–20). The next day, Pauline flew to Arizona from her home in
3     California (Id., Tr. 30:22–31:3; 32:10–11). Together Rhea and Pauline went to the
4     Phoenix House to remove Wilfred from Evelyn’s control (Id., Tr. 32:14–15). Evelyn
5     forced them to leave, and Wilfred remained at the Phoenix House (Id., Tr. 33:2–9).
6           Rhea and Pauline went to the police station seeking help to remove Wilfred from
7     Evelyn’s control (Id., Tr. 33:18–19). They returned to the Phoenix House to pick up
8     Wilfred (Id., Tr. 33:17–25). They suspected that Wilfred was alone in the house (Id., Tr.
9     34:11–16). Pauline climbed over the fence and entered through the back door (Id., Tr.
10 34:18–20). She opened the front door for Rhea (Id.). They checked for Wilfred and left
11 when they discovered he was not there (Id., Tr. 35:1).
12          Rhea and Pauline—now greatly concerned for Wilfred—returned to the police
13 station seeking help (Id., Tr. 35:21–25). The police directed them to the Chandler
14 Municipal Court where they obtained an order of protection against Evelyn (Id., Tr. 36:1
15 –25). Rhea and Pauline returned to the Phoenix House—escorted by police—and
16 removed Wilfred from Evelyn’s control (Id., Tr. 37:1–13).
17          Rhea then returned to Chase with Wilfred (Id., Tr. 37:16). At this point, Rhea
18 learned that Jaret had returned the $60,000 she sent him to the new account controlled by
19 Evelyn (Id., Tr. 39:3–10). Rhea and Wilfred closed the Evelyn controlled account and
20 Chase issued them a cashier’s check for the account balance (Id., Tr. 38:24–39:2). The
21 Fishers then moved into Pauline’s home in California for approximately fifteen (15)
22 months (Id., Tr. 39:23–40:4). They subsequently moved to Montana and lived with
23 Rhea’s daughter, April Fulbright (“Fulbright”) (Id., Tr. 40:18–22). Rhea and Wilfred
24 lived with Fulbright until his death. Rhea continues to reside with Fulbright today (Id.).
25          The Duttons closed the sale on the Phoenix House and moved into the Maricopa
26 House following Rhea and Wilfred’s departure (See Id., Tr. 24:11–13). Within a few
27 months, the Duttons refinanced the Maricopa House twice, borrowing almost $70,000
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1     against the equity created by the Fishers’ Down Payment.11
2            In 2014, the Fishers filed an action against the Duttons in the Maricopa County
3     Superior Court alleging claims for breach of contract, fraud, unjust enrichment, and
4     violation of duty to a vulnerable adult (In re JMD, DE 86, Ex. B(2) at 7–15). In their
5     state court action the Fishers’ sought judgment for $120,000; the imposition of a
6     constructive trust; and the award of pre and post judgment interest on the $120,000 (Id. at
7     15). The filing of the Duttons’ bankruptcy petitions stayed the Fishers’ state court action.
8     The Fishers subsequently filed these adversary proceedings objecting to discharge of
9     their claims against the Duttons.
10                                  IV. LEGAL STANDARD
11           The Supreme Court ruled that “the standard of proof for the dischargeability
12 exceptions in 11 U.S.C. § 523(a) is the ordinary preponderance-of-the-evidence
13 standard.” Grogan v. Garner, 498 U.S. 279, 291 (1991). Generally, the burden of
14 proving an exception to discharge under § 523(a)(2), (4) and (6) is on the creditor. See In
15 re Niles, 106 F.3d 1456, 1461 (9th Cir. 1997).
16                                        V. DISCUSSION
17           A. The Trial Testimony and Credibility
18           The Fishers argue that the Duttons fraudulently induced them to advance the
19 Down Payment by: (1) concealing the fact that they had been divorced since 2011; and
20 (2) falsely promising to repay or omitting their intention not to repay the Down Payment
21 in the event their plan to live together failed (In re JMD, DE 106 at 2).
22           The Duttons’ defenses are: (1) Rhea knew their marital status at the time the
23 Fishers advanced the Down Payment; and (2) Rhea gave them the Down Payment as an
24 unconditional gift without any promise of repayment.
25
      11
26   The Duttons initially applied the Down Payment to the $215,000 purchase price of the
   Maricopa House and John Dutton financed the remaining $95,000 (Trial Ex. 1). The Duttons
27 acknowledged at trial that they subsequently borrowed approximately $60,000 to construct a
   swimming pool at the Maricopa House (DE 105, Tr. 48:24–49:9). In 2015, the Duttons
28 consolidated these mortgages into a single loan of $162,181 (Trial Ex. 8).

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1            At the Trial, the parties offered testimony and exhibits in evidence. The Fishers
2     presented testimony from the Duttons, Pauline, and Fulbright. The Duttons presented the
3     testimony of William Fisher (“William”), Evelyn’s stepbrother and Wilfred’s son;
4     Marilyn Peterson (“Peterson”), Evelyn’s older sister and Rhea’s daughter; and Tiffany
5     Robinson (“Robinson”), Evelyn’s daughter from previous relationship. The Duttons also
6     presented the testimony of Todd Porter (“Porter”), the Fishers’ real estate agent in
7     connection with the sale of the Utah House.
8            Reviewing courts in this Circuit “give particular deference to the bankruptcy
9     court's credibility findings given the bankruptcy court's ability to view firsthand the
10 witnesses' demeanor and tone on the witness stand.” In re McClain, No. AP 1:14-AP-
11 01058-VK, 2017 WL 3298418, at *4 (B.A.P. 9th Cir. Aug. 2, 2017) (citing Retz v.
12 Samson (In re Retz), 606 F.3d 1189, 1196 (9th Cir. 2010)). The bankruptcy court’s
13 factual findings are not disturbed by the reviewing court unless they are “illogical,
14 implausible, or without support in the record.” Id. (citing Retz, 606 F.3d at 1199).
15           The plaintiff in an action under § 523(a)(2)(A) must establish the debtor’s intent to
16 defraud. Because direct evidence of an intent to defraud is rarely available, the
17 bankruptcy court may establish the requisite intent from the surrounding circumstances.
18 For this reason, the Court addresses both the general credibility of the witnesses and their
19 credibility as to specific issues.
20               1. The Gift Letter
21           Rhea testified that the Fishers never intended the Down Payment to be an
22 unconditional gift. “We did not make that a gift . . . it was not a gift[; i]t was a down
23 payment on a home for us to live in, not an unconditional gift” (DE 104, Tr. 64:8–10).
24 Rhea explained that the Fishers’ intention was to sell the Utah House and fund the Down
25 Payment so that she would have place to live until her death (Id., Tr. 22:8–10). Rhea also
26 testified that their agreement with the Duttons required the Fishers to pay for food,
27 utilities, internet, and television (Id., Tr. 22:16–24).
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1               The Duttons’ defense relied on the fact that Rhea and Wilfred signed a gift letter
2     (the “Gift Letter”) just prior to closing John’s loan transaction to purchase the Maricopa
3     House. Rhea testified that the Duttons told her: “it's illegal in Montana to borrow the
4     down payment. So Mother, you cannot tell anyone that this -- that you gave us -- that we
5     borrowed the money from you. It has to be a gift” (Id., Tr. 17:20–23).12 Rhea testified
6     that when she asked, “well, then how are you going to guarantee my investment? John
7     said, don't worry about it. I will take care of you. You know I will take care of you[,]”
8     however, Rhea maintains that she “didn't know [she] signed a gift paper” (Id., Tr. 17:23–
9     18:2 (emphasis added)).
10             The Duttons’ reliance on the Gift Letter’s preclusive effect is misplaced. First, the
11 Gift Letter is a pro forma document generated by John’s lender and signed by both John
12 and the Fishers (Trial Ex. 11). The Gift Letter evidences an enforceable promise made
13 by John to his lender. It is not an enforceable promise as between the Duttons and the
14 Fishers. Second, the Gift Letter contains virtually no terms.
15             Arizona law permits “courts to consider all of the proffered evidence to determine
16 its relevance to the parties' intent. As long as the contract language is reasonably
17 susceptible to the interpretation asserted by its proponent and not contradictory to the
18 language in the contract, parol evidence will be admissible.” In re Mortgages Ltd., 559
19 B.R. 508, 517 (Bankr. D. Ariz. 2016). Here, the lack of any terms in the Gift Letter
20 compels this Court to consider parol evidence of the circumstances surrounding its
21 execution.
22             Additionally, “Arizona law plainly provides that parol evidence is admissible to
23 prove fraud in the inducement claims and that an integration clause does not bar such
24 claims.” Pettennude v. McHenry, No. 2:07-CV-2071-HRH, 2008 WL 11338798, at *4
25 (D. Ariz. Aug. 25, 2008). Here, the Fishers allege fraud in the inducement, and therefore,
26 may present parol evidence. See In re Fox, No. 13-30321 (JAM), 2017 WL 564499, at *5
27 (Bankr. D. Conn. Feb. 10, 2017) (“By verbally assuring the Plaintiff that she would repay
28    12
           Rhea likely confused Montana for Arizona.

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1     the home loan and that the Plaintiff could live at the Property rent free, the Defendant
2     manipulated the Plaintiff into signing the Gift Letter with no intention of ever repaying
3     the home loan. By convincing the Plaintiff to sign the Gift Letter, the Defendant could
4     assert—as she did in this case—that the $25,000.00 was a gift and not a loan, despite her
5     many representations to the contrary.”)
6            The Duttons presented testimony from Evelyn, Porter, William, and Robinson to
7     demonstrate that Rhea was at various times allegedly unkind and callous to Wilfred.
8     Pauline and Fulbright, however, gave contradictory testimony that Rhea’s periodic “ugly”
9     words were the result of her frustration with Wilfred’s deteriorating physical and mental
10 condition (DE 104, Tr. 102:22). While the Duttons’ witnesses’ anecdotal testimony is
11 largely taken as credible, Rhea’s alleged mistreatment of Wilfred is not relevant to the
12 determination whether the Duttons violated § 523(a)(2)(A) in this case. Further, while
13 the Duttons’ witnesses may have established that Rhea is capable of being an unpleasant
14 person, they failed to undermine Rhea’s cognitive abilities or demonstrate dishonesty.
15 The Court concludes that Rhea was credible witness even though she sometimes testified
16 inaccurately about specific dates or locations. Overall, she was believable and her
17 testimony was consistent and supported by logic and other evidence.
18               2. Evelyn and John
19           Evelyn and John were not credible for numerous reasons. First, their
20 “unconditional gift” defense is both logically and legally inconsistent. Evelyn and John
21 offered conflicting testimony to support its proposed effect. The Duttons maintained the
22 Fishers gifted the Down Payment without any conditions attached to transfer of the funds
23 (DE 105, Tr. 57:3–4; see DE 104, Tr. 135:15–20). Then, in contradiction of the
24 “unconditional gift” defense, they both testified that the Fishers advanced the Down
25 Payment with the expectation they would always have a “home to grow old in” until their
26 death (DE 104, Tr. 137:18–22; DE 105, Tr. 49:22–47:14). To prevail under the
27 “unconditional gift” defense, the Duttons had to prove the Fishers sold the Utah House
28 then—while in their eighties and without a home in which to live—“unconditionally”

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1     gifted $120,000 of the sale proceeds to the Duttons without any expectation of value in
2     return. The Duttons’ testimony in support of these contradictory positions simply lacks
3     believability.
4            Notwithstanding the implausibly of their testimony, the Duttons’ defense of an
5     “unconditional gift” is not supported by the evidence. “The essential elements of a gift
6     inter vivos are that the donor manifest a clear intent to give to the party claiming as
7     donee, and give to the latter before death, full possession and control of the property.
8     There must be a donative intent, delivery, and a vesting of irrevocable title upon such
9     delivery.” O'Hair v. O'Hair, 109 Ariz. 236, 239 (1973) (Emphasis added).
10           The evidence established, however, that the Down Payment was not an irrevocable
11 gift for several reasons. First, John testified there was an agreement that the Fishers could
12 reside in the property as a condition of the gift. Second, John testified that if the sale of
13 the Maricopa House did not close he would return the Down Payment (DE 105, Tr.
14 68:18–25). John’s testimony establishes that the Fishers did not “irrevocably” transfer
15 the Down Payment to the Duttons for their discretionary use. Rather, the Fishers’
16 advanced the Down Payment for the limited purpose of purchasing the Maricopa
17 House—with the understanding that they would have the right to live there until their
18 death. This undisputed evidence undermines the necessary elements of full possession
19 and control as required to establish donative intent. Thus, the Court finds the Down
20 Payment was not—as the Duttons suggest—an irrevocable gift.
21           The Duttons testimony raised additional credibility concerns. The Fishers
22 presented uncontroverted testimony of Evelyn’s history of graft. Rhea testified that
23 “Evelyn told me . . . that she and John separated, because they [] their daughter . . .
24 needed mouth surgery and . . . if they were together they couldn't afford the dental care. .
25 . [b]ut if they separated, then . . . they could claim state funds” (DE 104, Tr. 19:18–22).
26 Pauline testified that Evelyn “frequently” engaged in various forms of insurance fraud
27 and boasted about having multiple “social security numbers from different names that she
28 would use” (Id., Tr. 70:6–20). Both Evelyn and John testified that John quitclaimed the

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1     Maricopa House to Evelyn without notifying the lenders even though they knew this
2     violated the loan agreements (Id. Tr. 145:6–146:22; DE 105, Tr. 49:12–53:8). It
3     appeared that Evelyn manipulated facts or changed her testimony to suit her purposes.
4     Her testimony often contradicted undisputed, contrary evidence. The Court finds she was
5     not a credible witness.
6            Similarly, other evidence diminished John’s credibility. John admitted on cross-
7     examination that he routinely filed criminal complaints against adverse parties. John
8     admitted that he filed criminal complaints against the Fishers’ counsel and his law partner
9     (DE 105, Tr. 65:11–12). John admitted that he filed a criminal complaint against a police
10 officer who ticketed him for a traffic violation (Id., Tr. 64:12–17). John admitted he filed
11 criminal complaints against two Maricopa County Judges that ruled against him in civil
12 matters (Id., Tr. 65:13–15). John also admitted that he filed criminal complaints against
13 Pauline and Rhea after they came to the Maricopa House to remove Wilfred from
14 Evelyn’s control (Id., Tr. 64:12–17). These specific incidences of John’s conduct raise
15 questions about character for truthfulness based on his frequent assertion of dubious
16 claims. See Fed. R. Evid. 405(b).
17           John’s testimony about the first meeting of creditors raised additional concerns
18 regarding his credibility. John was asked on cross-examination, “[d]o you recall that you
19 attended an initial meeting of creditors in your bankruptcy case” (Id., Tr. 66:20–21).
20 John responded, “that meeting never took place . . . I was never sworn under oath” (Id.,
21 Tr. 66:22–23). John made patently false statements under oath despite notice of the
22 Fishers’ intent to admit the transcript of the first meeting of creditors at the Trial (In re
23 JMD, DE 92 at 11). The transcript of the meeting of creditors clearly establishes that the
24 meeting took place, John attended, Johns was “sworn under oath”, and questioned by the
25 Fishers’ counsel (Trial Ex. 15). John’s testimony demonstrates that he lies in the face of
26 undisputed evidence to the contrary. John’s propensity to make untrue statements, to
27 assert unfounded claims and to present inconsistent testimony eviscerated his credibility.
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1            B. § 523(a)(2)(A)
2            Under § 523(a)(2)(A), a bankruptcy court may except from discharge a debt for
3     money, property, services or credit obtained by false pretenses, a false representation or
4     actual fraud from discharge. “[T]he Ninth Circuit has consistently held that a creditor
5     must demonstrate five elements to prevail on any claim arising under § 523(a)(2)(A).
6     The five elements, each of which the creditor must demonstrate by a preponderance of
7     the evidence, are: (1) misrepresentation, fraudulent omission or deceptive conduct by the
8     debtor; (2) knowledge of the falsity or deceptiveness of his statement or conduct; (3) an
9     intent to deceive; (4) justifiable reliance by the creditor on the debtor's statement or
10 conduct; and (5) damage to the creditor proximately caused by its reliance on the debtor's
11 statement or conduct.” In re Slyman, 234 F.3d 1081, 1085 (9th Cir. 2000) (internal
12 citations omitted).
13               1. A Misrepresentations and Fraudulent Omissions by the Duttons
14                      i. Concealing their Divorce and the Titling of the Maricopa House
15           The Fishers argue that the Duttons concealed their marital status resulting in John
16 obtaining title to the Maricopa House as an unmarried man. Rhea testified that Evelyn
17 only disclosed that she had separated from John but not divorced (DE 104, Tr.19:18–22).
18 The Duttons argued that Evelyn informed Rhea of her marital status prior to the purchase
19 of the Maricopa House (Id., Tr.65:2–5). The Duttons further argue that Rhea had
20 knowledge of their marital status because Rhea and Wilfred are listed as John’s “future
21 mother-in-law” and “future father-in-law” on the Gift Letter (Id., Tr.64:15–11; Trial Ex.
22 11).
23           Rhea maintained: (1) that no such discussion with Evelyn ever occurred; (2) she
24 did not remember signing the Gift Letter; and (3) she did not learn about the Duttons’
25 marital status through it (DE 104, Tr.65:1; 65:7–11). In support of the Fishers’ argument,
26 Pauline testified that she too was not aware of the Duttons’ marital status at the time the
27 Fishers advanced the Down Payment (Id., Tr. 84:7–9). The Duttons presented testimony
28 from John and Robinson, both alleging that they held conversations with Rhea about a

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1     about the Duttons’ future wedding plans in Las Vegas (DE 105, Tr. 72:24–73:9; 84:22–
2     85:9). Peterson also testified that she spoke to Rhea about the Duttons’ marital status
3     (Id., Tr. 23:16–24:13).
4            The Court found none of the testimony in support of the Duttons credible.
5     Peterson’s testimony about her conversation with Rhea was vague to the extent that she
6     was unsure of the year it took place, the location where she was residing in at the time,
7     and important details about the conversation. John and Robinson testified about having
8     virtually the same conversation with Rhea about a reconciliation marriage—that never
9     happened—casting doubt on their testimony as well.
10           Although Pauline’s testimony was frank and credible, it does little to prove the
11 Duttons concealed their marital status from Rhea. Rhea’s testimony—while also
12 believable—raised concerns. The Duttons’ cross-examination flustered Rhea as if she
13 could not fully comprehend some of their questions. Considering Rhea’s confusion on
14 the witness stand and the fact that the Duttons continued to live together after their
15 divorce, it is possible Rhea knew of the divorce and simply forgot. Although the Duttons
16 provided no credible evidence that Rhea knew about their marital status, they do not have
17 burden of proof on this issue. The Fishers had to demonstrate by a preponderance of the
18 evidence that the Duttons concealed their marital status. The Fishers failed to meet the
19 burden of proof. Thus, the Court finds that the Fishers failed to establish that the Duttons
20 made a fraudulent misrepresentation or omission regarding their marital status.
21                     ii. False Promises and Omission Regarding the Down Payment
22           The Fishers also argue that to induce them to advance the Down Payment, Evelyn
23 made a false promise to repay, while John fraudulently omitted his intention never to
24 repay. Evelyn claimed that she never promised to repay the Down Payment while John
25 relied on the Gift Letter as conclusive proof of Fishers’ intention to make an irrevocable
26 gift. As discussed above, the Fishers’ advance of the Down Payment did not constitute
27 an irrevocable gift.
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1            The Fishers presented testimony from Pauline and Fulbright to prove that Evelyn
2     promised to repay the down payment. Pauline testified that Evelyn assured her that in the
3     event the plans fell apart “she wouldn't keep mom's money; and she would give that back
4     to her” (Id., Tr. 71:7–72:12). Fulbright testified that Evelyn assured her that in the event
5     the plan fell apart she would rectify the situation (Id., Tr. 96:8–15). In Fulbright’s words,
6     Evelyn told her “if they need to leave, we will make it right” (Id.).
7            The Duttons presented testimony from Porter and William that the Fishers
8     intended to “irrevocably gift” the Down Payment. William testified that he believed the
9     advance of Down Payment was intended to be an irrevocable gift based on his knowledge
10 of FHA guidelines (DE 105, Tr.11:16–12:5). Porter testified that he explained to Rhea
11 the meaning of the Gift Letter and made it clear that the Fishers would not get the Down
12 Payment back (DE 104, Tr. 189:15–24). On the Fishers’ cross-examination, Porter,
13 however, also testified that Rhea told him that no matter what the outcome John agreed to
14 take care of her and honor their agreement (Id., Tr. 178:6–22).
15           The witnesses for both the Fishers and Duttons were credible. Although Pauline
16 and Fulbright’s testimony is sufficient to establish that the Fishers did not intend to
17 “irrevocably gift” the Down Payment, it falls short of establishing that there was a
18 promise to repay. Although William’s testimony was credible, he had no knowledge of
19 the agreement between the Fishers and Duttons. As a result, William’s testimony is not
20 helpful in determining the intention of the parties in this transaction. Porter’s testimony
21 established that in the event the plan failed Rhea did not expect the Duttons to return the
22 Down Payment, however it also established that in such an event Rhea expected the
23 Duttons to compensate her and Wilfred somehow.
24           Considering all of the evidence presented, the Fishers failed to prove that Evelyn
25 promised to repay the Down Payment as a loan in the event the plan failed. But, that is
26 not to say that the evidence supports the Duttons defense of irrevocable gift. On cross-
27 examination, the Duttons themselves elicited undisputed testimony from Fulbright that
28 Evelyn told her on numerous occasions that she could not repay the Down Payment

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1     because that would constitute mortgage fraud.13 Fulbright’s testimony establishes that
2     Evelyn never intended to repay the Down Payment.14
3            “A false representation can be established by an omission when there is a duty to
4     disclose.” In re Eashai, 87 F.3d 1082, 1089 (9th Cir. 1996). A duty to disclose arises
5     between parties to a business transaction when one holds information regarding “matters
6     known to him that the other is entitled to know because of a . . . relation of trust and
7     confidence.” Restatement (Second) of Torts § 551(2)(a) (1977); see Eashai, 87 F.3d at
8     1089 (looking to the Restatement to determine duty to disclose in an action under §
9     523(a)(2)(A)); In re Apte, 96 F.3d 1319, 1324 (9th Cir. 1996) (same). The commentary
10 to the Restatement expressly includes family members as those standing in a relation of
11 trust and confidence. Restatement (Second) of Torts § 551 (1977) (“Members of the same
12 family normally stand in a fiduciary relation to one another”). The Duttons had a duty to
13 disclose their intention to the Fishers. The Duttons never attempted to prove that Evelyn
14 or John disclosed their intention not to repay to the Fishers at any time prior to their
15 advance of the Down Payment.
16           The evidence convincingly establishes that the Duttons induced the Fishers to
17 advance the Down Payment with a promise. The Duttons promised the Fishers a home
18 and care for the rest of their lives or compensation of some sort should that become
19 untenable. The evidence also establishes that Evelyn had a duty to disclose her intention
20 to never repay the Down Payment and treat it as an irrevocable gift. Evelyn’s omission
21 of her intention constitutes a fraudulent omission of material fact for purposes of §
22 523(a). In re Harmon, 250 F.3d 1240, 1246 n. 4 (9th Cir.2001) (“A debtor's failure to
23 disclose material facts [also] constitutes a fraudulent omission under § 523(a)(2)(A)”);
24 see In re Cossu, 410 F.3d 591, 597–98 (9th Cir. 2005) (omissions are representations).
25
26    DE 104, Tr. 108:6–14 (Duttons: “Did [Evelyn] -- did I tell you over and over and over again
      13

   that this would be mortgage fraud if I were to repay back a down payment as a loan, as you kept
27 telling me I needed to do?” Fulbright: “Yeah. [she] did.”)
   14
      The Court does not determine whether Evelyn’s statement about mortgage fraud is legally
28 correct.

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1            Even if Evelyn’s omission is not imputed to John, in his own testimony plainly
2     proclaimed that he never intended to repay the Down Payment (DE 105, Tr. 43:18–44:7).
3     John’s failure to disclose his intention to the Fishers, however, before they advanced the
4     Down Payment also constitutes a fraudulent omission of material fact for purposes of §
5     523(a). The Court finds that while the Fishers failed to establish that they “loaned” the
6     Duttons the Down Payment, the evidence establishes that they advanced the Down
7     Payment under an agreement with theDuttons and not as an irrevocable gift.
8                2. The Duttons’ Knowledge of the Deceptiveness of Their Fraudulent
9                   Omission

10           The Duttons testified that they never intended to repay Rhea under any
11 circumstances. The record demonstrates that the Duttons never disclosed this fact to
12 Rhea. Pauline and Fulbright testified that the Duttons falsely promised to compensate the
13 Fishers if things did not work out. The Duttons’ statements to Pauline and Fulbright are
14 inconsistent with their testimony that they never intended to compensate the Fishers. The
15 Duttons’ statements to Pauline and Fulbright were false at the time they made them. The
16 Duttons’ omission with regard to Rhea in conjunction with their false statements to
17 Pauline and Fulbright prove they knew of the falsity of their representations.
18               3. The Duttons’ Intention to Deceive the Fishers
19           “Intent to defraud is a question of fact.” In re Kennedy, 108 F.3d 1015, 1018 (9th
20 Cir. 1997), as amended (Mar. 21, 1997) (citing In re Rubin, 875 F.2d 755, 758 (9th Cir.
21 1989). “[I]ntent may properly be inferred from the totality of the circumstances and the
22 conduct of the person accused.” In re Ormsby, 591 F.3d 1199, 1206 (9th Cir. 2010);
23 accord Kennedy, 108 F.3d at 1018. “The Ninth Circuit . . . ha[s] recognized that reckless
24 disregard for the truth of a representation satisfies the element that the debtor has made
25 an intentionally false representation in obtaining credit.” In re Kong, 239 B.R. 815, 826
26 (B.A.P. 9th Cir. 1999) (citing In re Anastas, 94 F.3d 1280, 1286 (9th Cir. 1996)).
27           It is crucial to emphasize that “misrepresentation is not an element of actual fraud
28 under § 523(a)(2)(A). That is, actual fraud may include a wider array of misconduct.” In

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1     re Phillips, No. AP 15-01052-TWD, 2016 WL 7383964, at *5 (B.A.P. 9th Cir. Dec. 16,
2     2016) (citing Husky Int'l Elecs., Inc. v. Ritz, 136 S. Ct. 1581 (2016)). “For a debt to be
3     excepted from discharge, the debtor must actually intend to defraud the creditor.” In re
4     Tripp, 357 B.R. 544, 548 (Bankr. D. Ariz. 2006) (citing In re Tsurukawa, 258 B.R. 192,
5     198 (B.A.P. 9th Cir. 2001)). “[D]irect evidence of an intent to deceive[, however,] is
6     rarely shown.” Id. As a result, Courts in this Circuit “recognize[] that the element of
7     intent to deceive under § 523(a)(2)(A), can be inferred and established from the
8     surrounding circumstances.” In re Hultquist, 101 B.R. 180, 183 (B.A.P. 9th Cir. 1989);
9     accord In re Campbell, 490 B.R. 390, 401 (Bankr. D. Ariz. 2013).
10              “The court must consider whether the totality of the circumstances paints a picture
11 of deceptive conduct by the debtor that indicates an intent to deceive the creditor.” Tripp,
12 357 B.R. at 549 (citation omitted). “Because no single objective factor is dispositive, the
13 assessment of intent is, thus, left to the fact-finder.” Id. (citing In re Jacks, 266 B.R. 728,
14 741–43 (B.A.P. 9th Cir. 2001)); In re Rubin, 875 F.2d 755, 759 (9th Cir. 1989). In its
15 analysis, a court “should [not only] consider the debtor's conduct at the time of the
16 representations” but rather the debtor’s “subsequent conduct to the extent that it provides
17 an insight into the debtor's state of mind at the time of the representations.” Tripp, 357
18 B.R. at 548 (citations omitted); accord In re Singh, No. ADV 12-01045-AA, 2014 WL
19 3883304, at *6 (B.A.P. 9th Cir. Aug. 7, 2014).
20              The circumstantial evidence presented during the Trial establishes that the Duttons
21 intended to deceive the Fishers. First, the Duttons falsely characterized the Gift Letter to
22 Rhea as a legal requirement.15 The Duttons’ demand that the Fishers sign a gift letter was
23 not a legal requirement for purchase of the Maricopa House. The Fishers advanced the
24 Down Payment and yet, they retained no legal rights in the funds, nor their proceeds.
25 The Gift Letter suggests a scheme for the Duttons to obtain sole ownership and control of
26 the Fishers’ property.
27
28    15
           See discussion supra at 9.

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1               Any appropriate transaction would have transferred at least some ownership rights
2     to the Fishers in exchange for the Down Payment. Evidence established that the Duttons
3     knew how and willingly to transferred ownership in the Maricopa House between them to
4     protect their rights.16 The Duttons falsely asserted there were legal impediments to co-
5     ownership with the Fishers based on John financing the Maricopa House purchase. But,
6     miraculously these same impediments did not prevent them from co-owning or
7     transferring ownership of the same house without disclosure to the mortgage lenders to
8     protect their interests.
9               This is most clearly evidence by the fact that John quitclaimed title to the
10 Maricopa House to Evelyn soon after the final loan closed. The Duttons could have just
11 as easily purchased the Maricopa House and quitclaimed an interest in the title to the
12 Fishers. Alternatively—and more appropriately—the Duttons could have purchased the
13 Maricopa House jointly with the Fishers. Nevertheless, the Duttons’ insistence on the
14 use of the Gift Letter is proof of their intent to defraud.
15              The Duttons refinanced the Maricopa House to install a lavish swimming pool
16 months after they purchased the home. The fact that the Duttons immediately leveraged
17 the Maricopa House for cash demonstrates there was no financial impediment to
18 returning at least half of the Down Payment to the Fishers almost immediately the
19 purchase was completed. These facts only raise more questions as to why the Fishers
20 were “required” to contribute all of the Down Payment in the first place. All of these
21 circumstances suggest the Duttons’ intention was to defraud the Fishers.
22              Evelyn’s closing of the Joint Account and the substitution of her name for Rhea’s
23 on the new account holding the Transferred Funds is evidence of fraud. At the time
24 Chase closed the Joint Account, Rhea and Wilfred had been married for approximately
25 forty-six (46) years. The Transferred Funds belonged to both of them jointly and
26 severally and they had a right to do with them as they chose.
27
      16
           See DE 105, Tr. 48:1–5; DE 104, Tr. 146:4-10 (both Duttons discussing the need for quitclaim
28 due to potential risk of John’s death while riding his motorcycle).

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1            The Court finds that these uncontroverted facts are illustrative of Evelyn’s intent
2     to defraud the Fishers. Rhea discovered the closure of the Joint Account while she was
3     attempting to purchase groceries. She subsequently learned that since the Joint Account
4     was closed, Evelyn had obtained control of the Transferred Funds. Evelyn did not
5     immediately contact Rhea to inform her of the closure of the Joint Account Evelyn
6     refused to return Rhea’s access to the money. To retrieve the Transferred Funds, Evelyn
7     forced Rhea to secure an order of protection executed with the assistance of the police.
8            Evelyn’s closure of the Joint Account and her attempted control of the Transferred
9     Funds not only demonstrates Evelyn’s intent to control the Fisher’s liquid assets, but
10 suggest that the Duttons intended to execute a more pernicious plan to purchase the
11 Maricopa House by having the Fishers advance the Down Payment and then fleece them
12 of their remaining funds. When considered together, the totality of circumstances
13 compels the Court to conclude that the Duttons intended to deceive the Fishers.
14               4. The Fishers’ Reliance was Justifiable
15           The standard of what reliance is justifiable “is not that of the average reasonable
16 person” rather “it is a more subjective standard which takes into account the knowledge
17 and relationship of the parties themselves.” In re Kirsh, 973 F.2d 1454, 1458 (9th Cir.
18 1992). As a result, “a person of normal intelligence, experience and education may not
19 put faith in representations which any such normal person would recognize at once as
20 preposterous. At the same time, the standard does protect the ignorant, the gullible, and
21 the dimwitted, for no rogue should enjoy his ill-gotten plunder for the simple reason that
22 his victim is by chance a fool.” Id. (internal quotes and citations omitted). Justifiable
23 “reliance is judged in light of the totality of the circumstances on a case-by-case basis.”
24 In re Bacino, 2015 WL 9591904, at *20 (9th Cir.BAP (Cal.), 2015) (citing Heritage Pac.
25 Fin., LLC v. Raul Machuca, Jr.(In re Raul Machuca, Jr.), 483 B.R. 726, 736 (B.A.P. 9th
26 Cir. 2012).
27           When they advanced the Down Payment, Rhea and Wilfred were approximately
28 seventy-nine (79) and eighty-three (83) years old. Fulbright testified that Wilfred’s

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1     mental health had deteriorated to the point where he had “the mind of a three year old”
2     (DE 104, Tr. 98:4).17 The record also reflects that on at least one occasion, a
3     representative of Chase bank considered Wilfred a vulnerable adult. Rhea on the other
4     hand was of sound mind. During her testimony, however, Rhea’s advanced age was
5     apparent. She would at times not understand questions or answer inappropriately.
6     Sometimes she confused states and people. At the end of their lives, the Fishers were
7     retired and supported only by Wilfred’s pension income. Rhea testified she felt that if
8     they did not live with one of her children in the near future she and Wilfred would have
9     to move into in an assisted living facility. At the very least, the Fishers were vulnerable,
10 elderly adults.
11           The Fishers relied on the Duttons because of their close familial relationship. The
12 Fishers’ reliance cannot be evaluated through the same lens used to determine the
13 reasonableness of reliance as between parties negotiating at arm’s length. Given the
14 Fishers’ age, vulnerability and the familial bond, they appropriately relied on the
15 Duttons’ false representations. Thus, the Court finds the Fishers’ reliance on the
16 Duttons’ undisclosed intention was justifiable in this case.
17               5. The Duttons’ Conduct was the Proximate Cause of the Fishers’
18                 Damage

19           The Duttons’ misrepresentations were the proximate cause of the damages
20 suffered by the Fishers. But for the Duttons’ conduct, the Fishers would not have been
21 damaged by the loss of the Down Payment.
22
23           C. Constructive Trust

24           "A constructive trust is an equitable remedy crafted to prevent a party who has

25 obtained property through unlawful means from benefitting from his wrongdoing.” In re
26 Allied Gen. Agency, 229 B.R. 190, 195 (D. Ariz. 1998) (internal citations omitted) (citing
      17
27   The Court makes no finding that Wilfred lacked legal capacity because no admissible evidence
   of his legal capacity was admitted. For the purposes of this decision, the Court finds that Wilfred
28 was legally capable of entering into an agreement with the Duttons.

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1     Johnson v. American National Ins. Co., 126 Ariz. 219, 222–24 (Ct. App. 1980)).
2     “Arizona law permits the imposition of a constructive trust whenever title to property has
3     been obtained through actual fraud, misrepresentation, concealment, undue influence,
4     duress, or through any other means which render it unconscionable for the holder of legal
5     title to retain and enjoy its beneficial interest.” In re N. Am. Coin & Currency, Ltd., 767
6     F.2d 1573, 1575 (9th Cir.), amended, 774 F.2d 1390 (9th Cir. 1985) (internal quotes
7     omitted) (citing In re Estate of Rose, 108 Ariz. 101, 104, opinion supplemented on denial
8     of reh'g, 108 Ariz. 207 (1972)).
9            A constructive trust “removes title from the legal owner and conveys that interest
10 to one to whom it justly belongs” while the “holder of legal title is held to be a trustee for
11 the benefit of the rightful owner.” Allied Gen. Agency, 229 B.R. at 196. “Essential to the
12 imposition of a constructive trust, therefore, is the identification of specific property, or
13 res, in which the claimant has a direct interest.” Id. (citing Burch & Cracchiolo, P.A. v.
14 Pugliani, 144 Ariz. 281, 286 (1985)). “In permitting the imposition of a constructive
15 trust for actions amounting to actual fraud, Arizona law is not inconsistent with federal
16 bankruptcy law.” N. Am. Coin & Currency, Ltd, 767 F.2d at 1575.
17           By establishing the elements of their claim under § 523(a)(2)(A) the Fishers have
18 satisfied the elements of fraud under Arizona law. See Comerica Bank v. Mahmoodi, 224
19 Ariz. 289, 292 (Ct. App. 2010). Thus, the Court finds that the imposition of a
20 constructive trust in favor of the Fishers on the Maricopa House in the principal amount
21 of the Down Payment is the appropriate remedy.
22           D. Joint and Several Liability
23           At every stage of this case, the Duttons worked in concert together. They lived
24 together both before and after the purchase of the Maricopa House regardless of their
25 marital status. The Fishers provided uncontroverted evidence that their divorce is merely
26 a sham, a financial accommodation. They both made the relevant fraudulent omissions
27 as part of a scheme in which they both benefitted. The evidence also establishes that they
28 have transferred ownership of the property at various times between themselves. For

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1     these reasons, the Court finds that the Duttons are jointly and severally liable for the total
2     amount of the judgment entered in this case. Wiggs v. City of Phoenix, 198 Ariz. 367, 371
3     (2000) (“But section 12-2506(D) preserves joint liability for both true joint tortfeasors
4     (those “acting in concert”) and those vicariously liable for the fault of others.”); In re Lee,
5     536 B.R. 848, 857–58 (Bankr. N.D. Cal. 2015) (non-dischargeable judgment entered
6     against joint tortfeasors who caused same harm).
7            E. Prejudgment Interest
8            “In cases involving liquidated damages such as the one at bar, prejudgment
9     interest is a matter of right.” Dawson v. Withycombe, 216 Ariz. 84, 113 (Ct. App. 2007)
10 (citing Trus Joist Corp. v. Safeco Ins. Co. of America, 153 Ariz. 95, 109 (Ct. App. 1986)).
11 “A claim is liquidated if the evidence makes it possible to calculate the amount with
12 exactness, without reliance on opinion or discretion.” Canal Ins. Co. v. Pizer, 183 Ariz.
13 162, 164 (Ct. App. 1995).
14           Under Arizona law, the allowable rate of prejudgment interest on indebtedness of
15 this kind is ten percent (10%). Metzler v. BCI Coca-Cola Bottling Co. of Los Angeles,
16 235 Ariz. 141, 145 (2014)) (citing A.R.S. § 44-1201(A). “The weight of Arizona law
17 supports the proposition that . . . prejudgment interest should accrue from the date” the
18 plaintiff made demand or “absent a demand letter . . . it should accrue from the date the
19 complaint was filed.” Dawson, 216 Ariz. at 113.
20           Here the liquidated measure of damages is the $120,000 advanced by the Fishers
21 to fund the Down Payment. The Fishers filed their complaint in state court on September
22 9, 2014 (DE 86, Ex. B(2) at 7). Thus, interest appropriately accrues at 10% per year from
23 September 9, 2014 until the entry of this order.
24           “Under federal law, postjudgment interest shall be calculated from the date of the
25 entry of the judgment, at a rate equal to the weekly average 1–year constant maturity
26 Treasury yield, as published by the Board of Governors of the Federal Reserve System,
27 for the calendar week preceding [] the date of the judgment.” In re Hamilton, No. AP 14-
28 90152-CL, 2018 WL 1807279, at *8 (B.A.P. 9th Cir. Apr. 17, 2018) (citing 28 U.S.C. §

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1     1961(a)). As a result, the Fishers are entitled to post judgment interest from the date of
2     the entry of a final judgment until it is fully satisfied.
3                                        VI. CONCLUSION
4              Having considered the testimony and evidence submitted, for the reasons stated
5     above:
6              IT IS HEREBY ORDERED that a non-dischargeable judgment be entered in
7     favor of the Fishers and against Evelyn Dutton and John Dutton jointly and severally in
8     the principal amount of $120,000;
9              IT IS FURTHER ORDERED that prejudgment interest at the rate of 10% per
10 annum pursuant to A.R.S. §44-1201(A) shall accrue on the principal sum of $120,000
11 from September 9, 2014 until the date of the entry of this Memorandum Decision;
12             IT IS FURTHER ORDERED that post judgment interest shall accrue on the
13 amount of the non-dischargeable judgment, including prejudgment interest, at a rate
14 equal to the weekly average 1–year constant maturity Treasury yield, as published by the
15 Board of Governors of the Federal Reserve System, for the calendar week preceding the
16 date of the entry of the non-dischargeable judgment until paid in full;
17             IT IS FURTHER ORDERED that a constructive trust is imposed on the
18 Maricopa House in favor of the Fishers for the entire amount of the non-dischargeable
19 judgment, including pre and post judgment interest;
20             IT IS FURTHER ORDERED that the Fishers shall upload and notice an
21 appropriate form of judgment that includes the legal description of the Maricopa House
22 and the accrued and accruing pre and post judgment interest within fourteen (14) days of
23 the entry of this Memorandum Decision.
24
25             Dated and signed above.
26 Notice to be sent through the
27 Bankruptcy Noticing Center “BNC”
28

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      to the following:
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2
      MUELLER & DRURY, PC
3     PO BOX 42182
4     MESA, AZ 85274
      Plaintiff Counsel
5
6     JOHN MICHAEL DUTTON
      2301 HAYES RD
7     HOUSTON, TX 77077
8     Defendant

9  EVELYN MARIE DUTTON
10 43694 W COWPATH RD
   MARICOPA, AZ 85138
11 Defendant
12
   OFFICE OF THE U.S. TRUSTEE
13 230 N. 1ST AVENUE, SUITE 204
   PHOENIX, AZ 85003
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